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              EXHIBIT 31
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                            Microsoft to continue discussionsDocument        15-37
                                                              on potential TikTok       Filed
                                                                                  purchase in the09/23/20
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        Microsoft to continue discussions on
        potential TikTok purchase in the United                                                                  Sep 22, 2020 | Kevin Scott

        States                                                                                                   Microsoft teams up
                                                                                                                 with OpenAI to
        Aug 2, 2020 | Microsoft Corporate Blogs                                                                  exclusively license GPT-
                                                                                                                 3 language model 

        Following a conversation between Microsoft CEO Satya Nadella
        and President Donald J. Trump, Microsoft is prepared to
        continue discussions to explore a purchase of TikTok in the
        United States.
                                                                                                                 Sep 22, 2020 | Frank X. Shaw

        Microsoft fully appreciates the importance of addressing the                                             Microsoft Ignite 2020:
        President’s concerns. It is committed to acquiring TikTok                                                Empowering businesses
        subject to a complete security review and providing proper                                               to build resilience for
        economic benefits to the United States, including the United                                             today and what’s ahead
        States Treasury.                                                                                          


        Microsoft will move quickly to pursue discussions with TikTok’s
        parent company, ByteDance, in a matter of weeks, and in any
        event completing these discussions no later than September
        15, 2020. During this process, Microsoft looks forward to
                                                                                                                 Sep 21, 2020 | Brad Smith
        continuing dialogue with the United States Government,
        including with the President.                                                                            Microsoft will replenish
                                                                                                                 more water than it
        The discussions with ByteDance will build upon a notification                                            consumes by 2030 
        made by Microsoft and ByteDance to the Committee on
        Foreign Investment in the United States (CFIUS). The two
        companies have provided notice of their intent to explore a
        preliminary proposal that would involve a purchase of the
        TikTok service in the United States, Canada, Australia, and New                                          Sep 13, 2020 |
        Zealand and would result in Microsoft owning and operating                                               Microsoft Corporate Blogs
        TikTok in these markets. Microsoft may invite other American
        investors to participate on a minority basis in this purchase.                                           Microsoft statement on
                                                                                                                 TikTok 
        This new structure would build on the experience TikTok users
        currently love, while adding world-class security, privacy, and
https://blogs.microsoft.com/blog/2020/08/02/microsoft-to-continue-discussions-on-potential-tiktok-purchase-in-the-united-states/                   1/3
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        digital safety protections. The operating model for the service
        would be built to ensure transparency to users as well as
        appropriate security oversight by governments in these
        countries.




        Among other measures, Microsoft would ensure that all private
        data of TikTok’s American users is transferred to and remains in
        the United States. To the extent that any such data is currently
        stored or backed-up outside the United States, Microsoft would
        ensure that this data is deleted from servers outside the
        country after it is transferred.

        Microsoft appreciates the U.S. Government’s and President
        Trump’s personal involvement as it continues to develop strong
        security protections for the country.

        These discussions are preliminary and there can be no
        assurance that a transaction which involves Microsoft will
        proceed. We do not intend to provide further updates until
        there is a definitive outcome to our discussions.




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